
The complainant obtained an injunction, in this Court, to stay waste. After the answer of the defendants had come in, and the cause was set down for hearing, the complainant died.
Botts, for the defendants, stated that the representatives of the complainant were numerous, much dispersed, and not .well known ; and that it would be difficult, if not ’^impossible, to trace their persons, rights, or residence, so as to serve any order of Court upon them. He therefore moved that an order might be entered, that, unless the representatives of the complainant should come in, before the end of the next term, and cause the suit to be revived in their names, the injunction to stay waste should stand dissolved,(a) as an act of this day.
Which motion was granted accordingly..

 See 2 Eg. Ca. Abr. 2, note (a) in margin.

